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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

   IN RE: THE INGROS FAMILY, LLC,
                                                       BANKRUPTCY NO. 20-22606-
                  Debtor.                              CMB

                                                       CHAPTER 11

   CARMINE FOGLIO,

                  Movant,                              HEARING DATE: 12/02/20 at 1:30
                                                       p.m.
            vs.
                                                       RESPONSE DATE: 11/23/2020
   THE INGROS FAMILY LLC AND RYAN
   D. SHARBONNO,                                       Related to Doc. No.: 31, 36

                  Respondents.

    RESPONSE OF RYAN D. SHARBONNO TO MOVANT’S AMENDED MOTION
                FOR ADEQUATE PROTECTION PAYMENTS

          AND NOW comes Ryan D. Sharbonno, by and through his counsel, Thomas E.

   Reilly, Esquire and Thomas E. Reilly, P.C., with the following Response to the Amended

   Motion filed by Carmine Foglio seeking adequate protection payments:

          1.      Based on the documentation submitted by Foglio, the mortgage claimed

   by Foglio on the interest of the Debtor suffers from the same infirmities as the mortgage

   filed by Enterprise Bank. That is, both the Enterprise Bank mortgage and Foglio

   mortgage do not identify the owner of the real property.

          2.      Both Enterprise Bank and Foglio identify the purported mortgagors as

   “Ingros Family LLC”.

          3.      The actual corporate name of the owner of the property is “The Ingros

   Family LLC”.
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           4.      To the extent that Foglio claims a secured interest in the property, Ryan D.

   Sharbonno asserts that the two Judgments entered by Ryan D. Sharbonno and a Federal

   Tax Lien represent the only obligations using the proper and correct corporate name of

   the Debtor as owner of the building.

           5.      To the extent that the failure to accurately identify the owner in the Foglio

   mortgage undermines the validity of the lien created by the mortgage, Ryan D.

   Sharbonno submits that Foglio is not entitled to adequate protection since it would lack

   an interest in the building.

           6.      To the extent that the mortgages filed by Enterprise Bank and Foglio

   create liens on the property notwithstanding the misidentification of the purported

   mortgagors, the Foglio mortgage would only be entitled to adequate protection to the

   extent of its interest in the property.

           7.      Subject to the resolution of the adversary proceedings at 20-2165-CMB

   and 20-2184-CMB, Ryan D. Sharbonno submits that the lien priority based upon

   Debtor’s Schedules are as follows:

   Ryan D. Sharbonno, Judgment at 2018-31137, Recorded May 3, 2018, $60,000

   Enterprise Bank, Mortgage Recorded September 19, 2018 at 3579294, $3,179,000

   Ryan D. Sharbonno, Judgment at 2018-33331, Recorded November 20, 2018, $460,000

   Federal Tax Lien 2019-50011, Recorded March 27, 2019, $276,070.63 Foglio Mortgage
   Recorded September 9, 2019, $217,300.

           8.      Debtor’s Schedules allege that the real property has a value of $4,800,000.

   However, the Enterprise Bank Proof of Claim alleges that the value of the property is

   $3,740,000.




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          9.      Based upon the average of the Enterprise Bank stated value and the value

   identified in Debtor’s Petition is $4,270,000, which is consistent with the value

   mentioned in the Foglio Motion.

          10.     As a consequence, the stated value of the liens preceding the Foglio

   mortgage exceed the value of the property.

          11.     Under 11 U.S.C. §506, the interest of Foglio does not attach to any value

   in the property and is accordingly an unsecured claim and not entitled to adequate

   protection.

          WHEREFORE, Ryan D. Sharbonno, respectfully requests that the Court deny the

   Motion.

                                                        THOMAS E. REILLY, P.C.


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